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BRENDA PAscHALL, ) w -
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v. ) No. 04-1153-T-An
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Def`endant. )

 

ORDER REVERSING DECISION OF COMMISSIONER
AND AWARDING BENEFITS

 

PlaintiffBrenda Paschall has filed this action to obtain judicial review ofDef`endant
Commissioner‘s final decision denying her applications for disability insurance benefits and
supplemental security income under the Social Security Act (“Act”). The parties agree that
this case has had a “long, convoluted history,” involving three hearings before an
administrative law judge (“ALJ”), a remand by the Appeals Council, and a remand by this
court for additional testimony pursuant to sentence four of` 42 U.S.C. § 405(g). A hearing
before an ALJ Was held on 0ctober 17, 2002, pursuant to the remand order.

On January 24, 2003, the ALJ issued a decision, finding that Plaintiff` was not entitled
to benefits. The appeals council affirmed the ALJ's decision. This decision became the

Commissioner's final decision. Plaintiff has filed this action, requesting reversal of` the

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Commissioner's decision. F or the reasons set forth below, the decision of the Commissioner
is REVERSED.

Pursuant to 42 U.S.C. § 405(g), a claimant may obtain judicial review of any final
decision made by the Commissioner after a hearing to which he was a party. “The court
shall have the power to enter, upon the pleadings and transcript of the record, a judgment
affirming, modifying, or reversing the decision of the Commissioner ofSocial Security, with
or without remanding the cause for a rehearing.” _I_d_. The court's review is limited to
determining whether or not there is Substantial evidence to support the Commissioner's
decision, 42 U.S.C. § 405(g); Drummond v. Commissioner, 126 F.3d 837, 840 (6“‘ Cir.
1997), and whether the correct legal standards were applied. Landsaw v. Secretary, 803
F.2d 211, 213 (6th Cir. 1986). When the record contains substantial evidence to support the
Commissioner's decision, the decision must be affirmed Stanley v. Secretag{, 39 F.3d l 15,
117 (6"‘ Cir. 1994) (citing Richardson v. Perales, 402 U.S. 389, 401 (1971)). “Substantial
evidence” is “such relevant evidence as a reasonable mind might accept as adequate to
support a conclusion.” Richardson, 402 U.S. at 401(quoting Consolidated Edison Co. v.
M, 305 U.S. 197, 229(1938)). When substantial evidence supports the Commissioner's
determination, it is conclusive, even if substantial evidence also supports the opposite
conclusion Felisky v. Bowen, 35 F.3d 1027,1035 (6th Cir. 1994).

A substantiality of` evidence standard, however, does not permit a selective reading

of the record. “Substantiality of the evidence must be based upon the record taken as a

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whole. Substantial evidence is not simply some evidence, or even a great deal of evidence
Rather, the substantiality of evidence must take into account whatever in the record fairly
detracts from its weight.” Garner v. Heckler, 745 F.2d 383, 388 (6th Cir. 1984) (internal
quotes and citations omitted). If a court determines that substantial evidence does not
support the Commissioner’s decision, the court can reverse the decision and immediately
award benefits if all essential factual issues have been resolved and the record adequately
establishes a plaintiffs entitlement to benefits. Faucher v. Secretag; of Health and Human
m, 17 F.3d 171, 176 (6th Cir. 1994).

In the present case, Plaintiff was born in January 1952. She has a tenth grade
education Her current applications were filed in January 1995 and November 1998. Prior
to the alleged onset date of her disability, Plaintiff worked as a cashier/clerk in a video
store.l Plaintiff` alleges that her disability is due to pain and dysfunction in the non-dominant
le ft upper extremity, back pain, right foot pain, knee pain, and mental functional limitations

In his decision, the ALJ enumerated the following findings: (1) Plaintiff has not
engaged in substantial gainful activity since January 26, 1995; (2) Plaintiff has severe
impairments including reflux sympathetic dystrophy in the non-dominant left upper
extremity, lumbar spinal disc disease/arthritis, and a bipolar disorder; (3) Plaintiff’ s
impairment or combination of impairments do not meet or equal in severity any impairment

listed in Appendix i, Subpart P, Regulations No. 4; (4) Plaintiff‘s Subjective complaints,

 

1 A cashier/clerk position requires light exertion and is considered to be sami-skilled with no transferable work
skills. R. at 772.

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including pain, are not credible; (5) Plaintiff retains the residual functional capacity to
perform a wide range of light work that does not require her to lift/carry more than twenty
pounds occasionally or ten pounds frequently, or to more than occasionally engage in
postural activities such as climbing or stooping, with no significant limitations in her
capacities for standing/walking or sitting, but with limited ability to handle and finger with
the non*dominant left hand, and with further nonexertional mental functional limitations
equating to no more than moderate limitations in social interactions and in maintenance of
concentration; (6) Plaintiff is able to perform her past relevant work; (7) Plaintiff was not
under a “disability” as defined in the Act at any time through the date of this decision, 20
C.F.R. §§ 404.1520(1) and 416.920(f).

The Social Security Act defines disability as the inability to engage in substantial
gainful activity. 42 U.S.C. § 423(d)(l). The claimant bears the ultimate burden of
establishing an entitlement to benefits Born v. Secretary, 923 F.2d 1168, 1173 (6“‘ Cir.
1990). The initial burden of going forward is on the claimant to show that she is disabled
from engaging in her former employment; the burden of going forward then shifts to the
Commissioner to demonstrate the existence of available employment compatible with the
claimant‘s disability and background g

The Commissioner conducts the following, five-step analysis to determine if an
individual is disabled within the meaning of the Act:

l. An individual who is engaging in substantial gainful activity will not be
found to be disabled regardless of medical findings

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2. An individual who does not have a severe impairment will not be found to
be disabled.

3. A finding of disability will be made without consideration of vocational
factors, if an individual is not working and is suffering from a severe
impairment which meets the duration requirement and which meets or equals

a listed impairment in Appendix 1 to Subpart P of the regulations

4. An individual who can perform work that he has done in the past will not
be found to be disabled.

5. If an individual cannot perform his or her past work, other factors including

age, education, past work experience and residual functional capacity must be

considered to determine if other work can be performed
Wyatt v. Secretary, 974 F.2d 680, 683-84 (6‘h Cir. 1992). Further review is not necessary
if it is determined that an individual is not disabled at any point in this sequential analysis
20 C.F.R. § 404.1520(a). Here, the sequential analysis proceeded to the fourth step. The
ALJ found that Plaintiff could perform her past relevant work as a cashier/clerk

Plaintiff argues that the Commissioner erred in denying her application for benefits
by not giving proper weight to testimony of her treating physician and in finding that
Plaintiff’ s testimony was not credible regarding her subjective complaints Because these
two arguments are interrelated, the court will consider them together.

A plaintiff’s statement, taken alone, will not establish that she is disabled; instead,
there must be objective medical findings which show the existence of a medical impairment
that could reasonably be expected to give rise to the pain alleged. C.F.R. § 404,1529(a).
Duncan v. Secretary of Health & Human Servs., 801 F.Zd 847 (6th Cir. 1986), established

a two-part test for determining whether a plaintiff suffers from disabling pain. First, the

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court must determine whether objective medical evidence of an underlying medical condition
exists If it does, then the court must determine: “(l) whether objective medical evidence
confirms the severity of the alleged pain arising from the condition; or (2) whether the
objectively established medical condition is of such a Severity that it can reasonably be
expected to produce the alleged disabling pain.” I_d. at 853.

When allegations of pain are at issue, credibility is crucial, and the ALJ‘s opportunity
to observe the demeanor of the plaintiff is invaluable and should not be lightly disregarded
Villarreal v. Secretary of Health & Human Servs., 818 F.2d 461,463 (6th Cir. 1987).
However, an ALJ’s credibility finding is not supported by substantial evidence when the
plaintiffs testimony is consistent With uncontradicted medical evidence. Cohen v. Secretagg
of Health & Human Servs.. 964 F.2d 524, 529 (1992).

The ALJ discounted Plaintiff’s statements concerning her impairments and their
impact on her ability to work on the ground that her complaints were “not reasonably
corroborated by the weight of the medical evidence.” R. at 773. In reaching this decision
the ALJ relied, in part, on Plaintiff’s daily activities which include “occasional driving” and
“carrying out household chores, such as laundry, and hobby activities including extensive
reading.” I_CL Additionally, the ALJ noted that Plaintiff sought treatment for left wrist pain
after lifting some boxes R. at 772. According to the Commissioner, these “activities are

inconsistent with an inability to perform all work.” Comm’s Br. At p. 8.

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An ALJ may consider household and social activities in evaluating complaints of

disabling pain, Crisp v. Secretary of Health and Human Services, 790 F.2d 450, 453 (6th Cir.

1986). However, an ALJ may not rely on minimal daily activities as substantial evidence

that a plaintiff does not suffer disabling pain, g Thompson v. Sullivan, 987 F.2d 1482,

 

1490 (10th Cir.1993). Accord McCarty v. Bamhart, 2004 WL 60286 (7th Cir.) (“minimal
activities” such as household chores, driving, attending church, sewing, and using a

computer “are not sufficient to contradict subjective complaints of disabling pain”); Clifford

 

Mp_frg, 227 F.3d 863 (7“‘ Cir.2000) (rej ecting ALJ‘s reliance on plaintiffs ability to go
grocery shopping about three times a month and sometimes carry groceries from the car to
the apartment); Davis v. Callahan, 125 F.3d 670 (8th Cir. 1997) (“[T]he fact that Davis could
perform a few light household chores does not constitute substantial evidence that Davis
possessed the functional capacity to perform her past relevant work.”); Baumgarten v.

Chater, 75 F.3d 366 (8“' Cir.1996) (“We have repeatedly held that the ‘ability to do

 

activities such as light housework and visiting with friends provides little or no support for
the finding that a claimant can perform full-time competitive work. ”’); Brennan-Kenyon v.

Bamhart, 252 F. Supp.2d 681 (N.D. 111.2003) (rejecting ALJ's credibility determination

 

where, although plaintiff could cook, do light household chores and shop, she otherwise
stayed at home, because plaintiffs activities were fairly restricted and not the kind of

activities that necessarily undermine or contradict a claim of disabling impairments).

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In the present case, the activities mentioned by the ALJ require little movement and
do not appear inconsistent with Plaintiffs asserted level of pain. Plaintiff’s reading,
occasional driving, and performing modest household chores over brief periods of time do
not equate to an ability to perform the requirements of full-time employment w Polidoro
v. Apfel, 1999 WL 203350 (S.D.N.Y.) (“A claimant‘s participation in the activities of daily
living will not rebut his or her subjective statements of pain or impairment unless there is
proof that the claimant engaged in those activities for sustained periods of time comparable
to those required to hold a sedentary job.”) Moreover, that fact that Plaintiff incurred wrist
pain after lifting boxes gives credence to her credibility rather than undermining it.

Nothing in the medical reports contradicts the testimony of Plaintiff. Instead,
Plaintiff”s allegations of pain are supported by the objective medical evidence in the record.
Euegne Regen, M.D., the ALJ‘ s medical expert who testified at the hearing, responded to the
question of` whether Plaintiff’ s impairments were “of a nature that are likely to produce pain”
as follows:

When they are - at least those with the exception of the RSD [reflex

sympathetic dystrophy], when they are acute, then yes, they could and would

be painful. But with the appropriate, generally conservative, measures they

tend to be relieved so those would be sort of short-term spikes in the awareness

of` discomfort The reflex dystrophy, on the other hand, can be - even a

rest, can produce burning dyshtesias (phonetic) and the joint stiffness can

be a significant nuisance, even at rest. So with that exception, most of these

other things are going to be relatively short-lived and appropriately dealt with.

R. at 1432-33 (emphasis added).

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Plaintiff’s subjective complaints are also supported by the testimony of her treating
physicianl w King v. Heckler, 742 F.2d 968 (6th Cir.l984) ( In determining whether a
plaintiff is disabled, medical opinions and diagnoses of treating physicians are entitled to
great weight, and if uncontradicted, are entitled to complete deference.) Plaintiff has been
treated by Laxmaiah Manchikanti, M.D., for reflex sympathetic dystrophy2 for a number of
years On June ll, 1999, Dr. Manchikanti opined that Plaintiff was precluded from
lifting/carrying more than ten pounds, was limited to standing/walking and sitting no more
than four hours out of an eight hour day, with a need to change position every five to fifteen
minutes, was unable to twist, and needed to lie down every two hours R. at 774. He also
opined that any attempt to work would be interrupted by three health-related absences a
month. Ld.

The ALJ rejected this opinion, in part, because Dr. Manchikanti had given opinions
on June 24, l996, and February 10, 1997, that were less restrictive than the June ll, 1999,
opinion. R. at 775. However, it appears reasonable that Plaintiff’s condition would have
deteriorated in the span of three years

The ALJ also noted that Dr. Manchikanti’s 1999 report conflicted in part with the
opinion of the medical expert, Dr. Regen. This reasoning is somewhat disingenuous in that

Dr. Regen’s opinion was more restrictive in parts than Dr. Manchikanti’s opinion. The ALJ

 

2 Ref`lex sympathetic dystrophy is defined by “a series of changes caused by the sympathetic nervous system,
marked by pallor or rubor, pain, sweating, edema, or osteoporosis, following muscle sprain, bone fracture, or injury to
nerves or blood vessels.” Dorland's Illustratea' Mea’icat‘ Dr`ctfonary 560 (29“' ed. 2000). It is associated with diffuse
persistent pain usually in an extremity often attendant with vasomotor disturbances, trophic changes, and limitation or
immobility of joints Stedmans's Medfcal Dictionaljv 537 (26“‘ ed.1995).

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then rejected the opinion ofDr. Regen and, instead, relied on that ofGrafton Thurmon, M.D.,
who was merely a consultant physician who saw Plaintiff one time. R. at 775. According
to the ALJ, Dr. Thurmon’ s opinion was supported by the non-examining medical consultants
ld_. Thus, the ALJ used Dr. Regen’s opinion to discount Dr. Manchikanti’s opinion but then
discounted Dr. Regen’s opinion The ALJ failed to give the proper amount of deference to
the opinion of Plaintiff’s treating physician, Dr. Manchikanti, by using this circuitous
reasoning

Plaintiff’s family physician, James McGee, M.D., of the Jackson Clinic also
corroborates Plaintiff’s complaints of severe anxiety and depression, reflux, and
osteoarthritis R. at 1245-71; 988-1034). Dr. McGee noted that Plaintiff was being treated
for her reflex symptomatic dystrophy syndrome by another physician I_d Thus, the failure
of Dr. McGee to treat Plaintiff for this syndrome is of no consequence

The ALJ failed to articulate sufficient reasons for rejecting the opinions of Dr.
Manchikanti and Dr. Regen. Therefore, substantial evidence does not support the decision
of the Commissioner, and that decision must be reversed

Having determined that the decision of the ALJ must be reversed, the court must
decide whether the matter should be remanded to the Commissioner for further consideration
or whether a remand for an award of benefits in warranted

If a Court determines that substantial evidence does not support the Secretary's

decision, the Court can reverse the decision and immediately award benefits

only if all essential factual issues have been resolved and the record
adequately establishes a plaintiffs entitlement to benefits

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Faucher v. Sec'v of Health and Human Servs., 17 F.3d 171, 176 (6th Cir.1994). “A judicial
award of benefits is proper only where the proof of disability is overwhelming or where the
proof of disability is strong and evidence to the contrary is lacking.” id

Here, the court finds that all material fact issues have been addressed and resolved,
and there is no need for additional evidence The proof of Plaintiff s disability is “strong and
evidence to the contrary is lacking.” The medical reports of Dr. Manchikanti and the
testimony at the hearing of Dr. Regen that Plaintiff was limited to sedentary work, which
precluded her prior work as a video clerk/cashier constitute objective medical evidence to
support the existence of an underlying medical condition which confirms the severity
Plaintiff’s allegations of pain or a condition that could reasonably be expected to cause pain

of the severity alleged3 B Duncan, 801 F.2d at 853. Therefore, there is an adequate record

 

to support the immediate award of benefits to Plaintiff.

Because there is not substantial evidence in the record supporting the Commissioner's
decision denying Plaintiffs application for benefits, the decision of the Commissioner is
REVERSED. Because the record establishes that Plaintiff is entitled to benefits without

additional factfinding, the action is REMANDED to the Commissioner for an award of

 

3 Even the state agency reviewing physicians noted that Plaintiff had significant difficulty using her upper

extremity. R. at 226, 242, 1235, 1288. Additionally, the state agency vocational specialists opined that Plaintiff could
not return to her former work. R. at 1146, 1153, 232.

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benefits The clerk is directed to enter judgment accordingly

IT IS SO ORDERED.

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S D. TODD
UN ED STATES DISTRICT JUDGE

DATE E

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This notice confirms a copy of the document docketed as number 24 in
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